 Case 2:08-cv-03540-VBF-FFM Document 269 Filed 03/28/11 Page 1 of 8 Page ID #:9467




                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                           CIVIL MINUTES -- GENERAL

Case No.   CV 08-3540-VBF(FFMx)                            Dated: March 28, 2011

Title:     Richard B. Clark -v- Advanceme, Inc.


PRESENT:   HONORABLE VALERIE BAKER FAIRBANK, U.S. DISTRICT JUDGE

           Joseph Remigio                                None Present
           Courtroom Deputy                              Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:            ATTORNEYS PRESENT FOR DEFENDANTS:

           None Present                                 None Present

PROCEEDINGS (IN CHAMBERS):             TENTATIVE ORDER: (1) PLAINTIFFS’
                                       MOTION FOR FINAL APPROVAL OF PROPOSED
                                       SETTLEMENT AND PLAN OF ALLOCATION
                                       (DKT. #264); (2) PLAINTIFFS’ MOTION
                                       FOR AWARD OF ATTORNEYS’ FEES AND COSTS
                                       AND PLAINTIFFS’ COMPENSATION AWARDS
                                       (DKT. #260)

I.   Tentative Ruling

     The Court has received, read and considered Plaintiffs Richard B.
Clark, JJ Management Co., Inc. and Michael Rabinowitz’s Motion for Final
Approval of Proposed Settlement and Plan of Allocation (dkt. #264);
Plaintiffs Richard B. Clark, JJ Management Co., Inc. and Michael
Rabinowitz’s Motion for Award of Attorneys’ Fees and Costs and
Plaintiffs’ Compensation Awards (dkt. #260); and related papers. No
opposition or objections have been filed.

     Based on the moving papers, the Court would grant both the Motion
for Final Approval of Proposed Settlement and Plan of Allocation (dkt.
#264) and the Motion for Award of Attorneys’ Fees and Costs and
Plaintiffs’ Compensation Awards (dkt. #260):

1.   Motion for Final Approval:

MINUTES FORM 90                           Initials of Deputy Clerk          jre
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                                       -1-
 Case 2:08-cv-03540-VBF-FFM Document 269 Filed 03/28/11 Page 2 of 8 Page ID #:9468



      a.   The pertinent factors support a finding that the settlement is
           fair, reasonable, and adequate: (i) the settlement was reached
           by arm’s-length bargaining following negotiations and after
           discovery; (ii) both sides faced risks from further litigation;
           (iii) the settlement provides a significant recovery to the
           Settlement Class Members and has the support of counsel; and
           (iv) none of the Settlement Class Members objected to the
           settlement, or requested to be excluded from the Settlement
           Class. Fed. R. Civ. P. 23(e)(2); Officers for Justice v. Civ.
           Serv. Comm’n of City & County of San Francisco, 688 F.2d 615,
           625 (9th Cir. 1982).
      b.   The notice was reasonable, and the requirements for class
           certification are met. See Fed. R. Civ. P. 23(a), (b), & (e).
2.    Motion for Award of Attorneys’ Fees, Costs and Expenses: The
      requested fees and costs are reasonable. See Fed. R. Civ. P. 23(h).

     The Court will not enter the Order giving final approval to the
proposed settlement before May 9, 2011. Pursuant to 28 U.S.C. § 1715(d),
an order giving final approval to a proposed settlement may not be issued
earlier than 90 days after the appropriate federal and state officials
are served with notice of the proposed settlement. Here, Defendant served
that notice on February 7, 2011, see Mot. at 1 n.1 (dkt. #264);
Declaration of Scott M. Pearson ¶¶ 3, 4 (dkt. #267). Thus, the Order will
not be entered before May 9, 2011. A non-appearance status conference
will be set for May 9, 2011 at 4:00 p.m.

II.   Background

     Defendant Advanceme, Inc. (“AMI”) offers to merchants a financial
product known as Merchant Cash Advance (“MCA”). Class Plaintiffs filed
this action on May 29, 2008, alleging that MCAs are not purchases of
future credit card receivables, as claimed by Defendant, but rather
disguised loans with interest rates that violate California’s usury laws
(dkt. #1). The operative Second Amended Complaint asserts claims for
violation of California’s usury laws and California Business &
Professions Code Section 17200, et seq., on behalf of a putative class of
persons owning or operating retail establishments in California who
entered into MCAs with Defendant or executed personal guarantees relating
to such MCAs (dkt. #99).

     AMI asserted counterclaims on June 11, 2009 (dkt. #92) and filed the
operative Second Amended Counterclaim on December 21, 2009 (dkt. #172)
for breach of contract or conversion against Richard B. Clark,
individually and f/d/b/a Austin’s Barbeque & Tavern, JJ Management Co.,



MINUTES FORM 90                           Initials of Deputy Clerk          jre
CIVIL - GEN
                                       -2-
 Case 2:08-cv-03540-VBF-FFM Document 269 Filed 03/28/11 Page 3 of 8 Page ID #:9469



Inc., Michael Rabinowitz, d/b/a/ Goodfellow Automotive, Joseph Bonafede,
Jesus Gonzales and Juan Jose Hernandez.

     The Court preliminarily approved the proposed settlement on December
13, 2010 (dkt. #255), finding on a preliminary basis that it was fair,
reasonable and adequate and within the range of possible approval.
Plaintiffs now move for final approval of the class action settlement and
an award of attorneys’ fees and other costs.

III. Motion for Final Approval of Class Action Settlement

     Rule 23(e) of the Federal Rules of Civil Procedure states that a
court may approve a class action settlement that binds class members
“only after a hearing and on finding that it is fair, reasonable, and
adequate.” Fed. R. Civ. P. 23(e).

     A.   The Settlement Is Fair, Reasonable, and Adequate

     Assessing whether a class action settlement is fundamentally fair,
adequate, and reasonable requires the district court to balance a number
of factors, including: (i) the strength of the plaintiffs’ case; (ii) the
risk, expense, complexity, and likely duration of further litigation;
(iii) the risk of maintaining class action status throughout the trial;
(iv) the amount offered in settlement; (v) the extent of discovery
completed and the stage of the proceedings; (vi) the experience and views
of counsel; (vii) the presence of a governmental participant; and (viii)
the reaction of class members to the proposed settlement. See Officers
for Justice, 688 F. 2d at 625. The list of factors is not exhaustive and
should be tailored to each case. See id.

     Plaintiffs have addressed and shown that the following factors
support approval of the proposed settlement.

1.   Settlement Amount. The Settlement Agreement provides for a total of
approximately $23.4 million in monetary consideration to the Settlement
Class to settle the claims in this action. See Settlement Agreement at 12
(dkt. #253-1). Of that total, $11.5 million will be paid in cash; after a
deduction for settlement costs (any attorneys’ fees, costs or incentive
awards awarded by the Court) and an initial cy pres donation of $500,000
to a non-profit organization for the benefit of Settlement Class members,
the $11.5 million will be distributed to qualifying Settlement Class
members on a pro rata basis pursuant to the Settlement Agreement. Id. at
12-13. The settlement also includes terms that require Defendant AMI to
deem all outstanding balances on MCAs that have been nonperforming for at
least 24 months to be fully satisfied and performed. Id. at 11-12. AMI

MINUTES FORM 90                           Initials of Deputy Clerk          jre
CIVIL - GEN
                                       -3-
 Case 2:08-cv-03540-VBF-FFM Document 269 Filed 03/28/11 Page 4 of 8 Page ID #:9470



has represented that the balance outstanding on these MCAs is
approximately $11.9 million as of December 2, 2010. Of that amount AMI
has obtained judgments in the approximate amount of $2.8 million. Id. at
12. Pursuant to the settlement, AMI will file a satisfaction of those
judgments. Additionally, AMI will implement measures designed to ensure
that its collections personnel do not request payments from merchants who
go out of business in the ordinary course and who have not previously
breached their Merchant Agreements. Id. at 21.

     Considering only the cash consideration, the proposed settlement
represents 12.6% of the total aggregate damages of approximately
$91,105,709. Declaration of Marc Seltzer ¶ 4 (dkt. #266). Considering the
full monetary consideration of the settlement, including the
approximately $11.9 million in nonperforming MCAs that will be deemed
fully satisfied, the proposed settlement represents 25.7% of the total
aggregate damages from Plaintiffs’ estimated best-case scenario following
litigation. As set forth in the moving papers, a settlement recovery
representing either 25.6% or 12.6% of Plaintiffs’ estimated aggregate
damages compares favorably to other class action settlements. See, e.g.,
In re Merrill Lynch & Co. Research Reports Secs. Litig., 246 F.R.D. 156,
157 (S.D.N.Y. 2007).

2.   Stage of Proceedings. Discovery in this action was extensive. During
the course of the litigation, AMI produced to Class Plaintiffs thousands
of pages of documents, and thousands more pages were produced by third
parties. Seltzer Decl. ¶ 3. The parties deposed 12 witnesses. Id.
Defendant AMI filed numerous motions. See dkts. #22, #59, #69. The
proposed settlement was reached after informed, arm’s-length negotiations
conducted under the supervision of the Hon. Richard C. Neal. Seltzer
Decl. ¶ 5. The negotiations were conducted over the course of many
months, and included conference calls, written correspondence and face-
to-face discussions. Id. ¶ 6.

3. Strength of Plaintiffs’ Case and Risks of Further Litigation. The
contested issues in this case caused the parties to have different views
of the settlement value. These issues included: (1) whether California
law or New York law governs plaintiffs’ usury claims; (2) whether AMI’s
MCAs are functionally equivalent to loans; (3) if AMI’s MCAs are found to
be loans, how to calculate the interest rate on these loans for the
purpose of determining whether they comply with applicable usury laws;
and (4) whether issues common to Class members predominate over
individual issues sufficiently to warrant class certification. Mot. at
11:23-12:11; Seltzer Decl. ¶ 5. All of these disputed issues presented a
significant risk that Plaintiffs would fail to obtain class



MINUTES FORM 90                           Initials of Deputy Clerk          jre
CIVIL - GEN
                                       -4-
 Case 2:08-cv-03540-VBF-FFM Document 269 Filed 03/28/11 Page 5 of 8 Page ID #:9471



certification, fail to reach trial, or obtain no recovery at trial.
Seltzer Decl. ¶ 5.

4.   Experience and Views of Counsel. In the view of Plaintiffs’ counsel,
the settlement is fair, reasonable and adequate and should be approved.
Seltzer Decl. ¶ 8; Declaration of Anat Levy ¶ 8 (dkt. #263). Plaintiffs’
counsel has a thorough understanding of the merits of the action and
experience in complex class actions. Seltzer Decl. ¶ 2; Levy Dec. ¶¶ 3-5.

5.   Reaction of Class Members. Notice of the settlement was served on
Class Members on or before January 12, 2011. See Declaration of Markham
Sherwood ¶ 3 & Ex. A (dkt. #268). The deadline to request exclusion or to
object to the settlement expired on February 11, 2011. Id. ¶¶ 7-8. None
of the Settlement Class members objected to the settlement or Plaintiffs’
requested fee and cost award, or requested to be excluded from the
Settlement Class. See id.; see also Seltzer Decl. ¶ 9.

     The moving papers note that following AMI’s notice of the settlement
to the California Attorney General’s office pursuant to the requirements
of the Class Action Fairness Act, counsel for the parties were contacted
by the California Attorney General’s office requesting that government
entities be excluded from the class definition. See Mot. at 3:19-28;
Seltzer Decl. ¶ 10, Ex. 5. The parties agreed to accommodate this request
because no governmental entities are included within the Settlement
Class. The parties submitted a revised definition of the Settlement Class
in the Amended Proposed Final Approval Order that expressly excludes
government entities. Seltzer Decl. ¶ 10, Ex. 5.

     B.   The Plan of Allocation Is Fair, Reasonable, and Adequate

     Plaintiffs have also shown that the Plan of Allocation is fair,
reasonable and adequate and should be approved. Approval of a plan of
allocation of settlement proceeds is governed by the same overarching
standard of fairness applied to the settlement. Class Plaintiffs v. City
of Seattle, 955 F.2d 1268, 1284 (9th Cir. 1992). “When formulated by
competent and experienced class counsel, an allocation plan need have
only a ‘reasonable, rational basis.’” In re Global Crossing Secs. & ERISA
Litig., 225 F.R.D. 436, 462 (S.D.N.Y. 2004).

     Here, the Plan of Allocation ensures an equitable pro rata
distribution of the Settlement Amount among Settlement Class Members
based on the amount that Settlement Class members paid Defendant AMI on
MCAs in excess of the Purchase Price or the amount outstanding in excess
of the Purchase Price. Mot. at 15:6-17:13. The Plan of Allocation was the
product of extensive discussions and negotiations by Class Counsel and

MINUTES FORM 90                           Initials of Deputy Clerk          jre
CIVIL - GEN
                                       -5-
 Case 2:08-cv-03540-VBF-FFM Document 269 Filed 03/28/11 Page 6 of 8 Page ID #:9472



counsel for AMI, and it is the view of Class Counsel that the Plan of
Allocation is fair and reasonable. Seltzer Decl. ¶ 8.

      C.   Notice Was Reasonable

     The notice process approved by the Court during the preliminary
approval stage was followed and is reasonable. Fed. R. Civ. P. 23(e);
Mot. at 6:14-7:18; Sherwood Decl. ¶ 3 & Ex. A.

      D.   Class Certification Requirements for the Settlement Class Are
           Met

     As the Court found in preliminarily approving the proposed
settlement (dkts. #254, #255), the Settlement Class meets the
requirements for class certification. See Fed. R. Civ. P. 23(a) & (b).

IV.   Motion for an Award of Attorneys’ Fees, Litigation Costs, and
      Incentive Awards

     Rule 23(h) states that “the court may award reasonable attorney’s
fees and nontaxable costs that are authorized by law or by the parties’
agreement.” Rule 23(h) further states that in awarding attorney fees and
costs, the court “may hold a hearing and must find the facts and state
its legal conclusions under Rule 52(a).” Fed. R. Civ. P. 23(h)(3).

      Class counsel request the following fees and costs:

1.   Attorneys’ fees. Plaintiffs request that the Court award attorneys’
fees in the amount of $4 million, plus interest, which is 17.1% of the
$23.4 million settlement consideration ($11.5 million in cash, and
approximately $11.9 million in outstanding account balances that
Defendant AMI will deem satisfied).

     “The common fund doctrine provides that a private plaintiff, or his
attorney, whose efforts create, discover, increase or preserve a fund to
which others also have a claim is entitled to recover from the fund the
costs of his litigation, including attorneys’ fees.” Vincent v. Hughes
Air West, Inc., 557 F.2d 759, 769 (9th Cir. 1977). In the Ninth Circuit,
a district court has discretion to award fees in common fund cases based
on either the lodestar method or the percentage-of-the-recovery method.
In re Wash. Pub. Power Supply Sys. Sec. Litig., 19 F.3d 1291, 1300 (9th
Cir. 1994).

     In this case, the requested fee of 17.1% of the total settlement
consideration is below the Ninth Circuit’s benchmark fee guidelines of

MINUTES FORM 90                           Initials of Deputy Clerk          jre
CIVIL - GEN
                                       -6-
 Case 2:08-cv-03540-VBF-FFM Document 269 Filed 03/28/11 Page 7 of 8 Page ID #:9473



25%. Paul, Johnson, Alston & Hunt v. Graulty, 886 F.2d 268, 273 (9th Cir.
1989) (“[T]he district court should take note that 25 percent has been a
proper benchmark figure . . . .”). The result achieved is an important
factor to be considered in making a fee award. See Hensley v. Echerhart,
461 U.S. 424, 436 (1983). In this case, the result achieved supports the
requested award, particularly in light of the contested legal and factual
issues involved. Mot. at 10:10-22. The procedural history of this
litigation, the experience of Class Counsel, the risk Class Counsel
undertook in pursuing this litigation also support the requested fee.
Mot. at 10:23-11:5.

2.   Attorneys’ costs. Plaintiffs request that the Court approve
reimbursement of costs and expenses incurred by Class Counsel of
$303,189.48, plus interest (as of January 11, 2011). Declaration of Marc
Seltzer ¶ 3 & Ex. 2 (dkt. #262); Levy Decl. ¶ 5. The categories of
expenses for which Class Counsel seek reimbursement, which are detailed
in the Seltzer Declaration, are the type of expenses charged to clients
billed on an hourly basis, including expert fees, the costs of
computerized research services, court reporter fees, videographer fees,
reporters’ transcript fees, mediation fees, photocopying and printing
costs, and telephone charges. Seltzer Decl. ¶ 3 & Ex. 2; Levy Decl. ¶ 5.

3.   Incentive awards. The named Plaintiffs and Class Counsel request
that the Court approve incentive awards of $15,000 for each of the three
named Plaintiffs, Richard Clark, JJ Management Co., Inc. and Michael
Rabinowitz. Mot. at 14:1-26. These Plaintiffs participated in all aspects
of the case. Levy Decl. ¶¶ 6-13. They provided Class Counsel with
documents and background information describing AMI’s practices,
participated actively in discovery and incurred expenses in the form of
mileage, photocopying and scanning. Id. ¶¶ 7-9, 13. The named Plaintiffs
each spent over 100 hours working on this matter. Id. ¶ 12. The named
Plaintiffs also bore risk in representing the Class, as AMI filed
counterclaims against the Plaintiffs and certain of their business
associates. Id. ¶¶ 10-11.

V.   Proposed Orders

     The parties did not submit a proposed order for the Motion for Award
of Attorneys’ Fees and Costs and Plaintiffs’ Compensation Awards (dkt.
#260). Such order shall be filed within two days. The parties must submit
a proposed order adequately setting forth the facts and legal conclusions
the Court must make to award such fees under Rule 23(h)(3) and 52(a),
including that Class Members were adequately notified of Class Counsel’s
request for fees and costs and of the incentive awards, and that such
fees and costs are reasonable under the circumstances of this case.


MINUTES FORM 90                           Initials of Deputy Clerk          jre
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                                       -7-
 Case 2:08-cv-03540-VBF-FFM Document 269 Filed 03/28/11 Page 8 of 8 Page ID #:9474



     [Proposed] Amended Final Approval Order and Judgment (dkt. #264-1).
The Court will sign the [Proposed] Amended Final Approval Order and
Judgment, as it adequately sets forth the facts and legal conclusions the
Court must make to approve the settlement under Rule 23(c)(3) & (e). The
Proposed Order sets forth the class of persons who will be bound by the
judgment, the factors that favor approval of the settlement, the adequacy
of notice, that the requirements for class certification are met with
respect to the settlement class and the release of claims that is part of
the settlement.

IT IS SO ORDERED.




MINUTES FORM 90                           Initials of Deputy Clerk          jre
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